Case 1:10-cv-00610-MJT Document 78-3 Filed 12/14/15 Page 1 of 2 PageID #: 1050




                                              AFFIDAVIT OF SHELLI SCHADE


           I   Shelli   Schade               state   that the following        is   true   and       correct to the best of               my
  knowledge

     1.   My name is               Shelli      Schade.     I    am   over 18 years of age and competent                            to    give   this



          statement.           I   read and write          the English language.


     2.   1    am a   Licensed Master Social                     Worker     LMSW.                I   have a graduate             degree in

          social      work and           I   was     licensed    by the    state    as a    LMSW         in 1999.          I    currently


          provide mitigation                   investigations        throughout         Texas        and have provided                  mitigation


          services      on over 50              capital    and non-capital          cases.


     3.   I   was appointed by the                   court as a Mitigation              Specialist       for the defense for John


          Steven Gardner in March 2005.


     4.   The defense team                   retained Dr. Gilda Kessner in July                       2006      to    testify    for Mr.


          Gardner       at    his    trial.       She interviewed          Mr. Gardner reviewed records and


          interviewed family members in order to                             testify       at   the punishment             phase of his            trial



          regarding mitigation                    and future dangerousness.


     5.   The defense team                   also retained Dr. Kate Allen to present                       mitigation            evidence


          during the punishment phase of Mr. Gardners                                     trial.      She was prepared to present


          the testimony at               trial.




     6.   Prior to Dr. Kessner and Dr. Allens testimony during the punishment                                                      phase of

          the trial     Mr. Gardners                  attorney Bob Hulkrantz                    stated   that    it   was a      trial    team


          strategy not         to
                                     put on consulted            or testifying experts.               This was a          false    statement


          as the entire defense                   team including       Randi        Ray     Dr. Kristi       Compton and myself

          were    not consulted                and were not involved               in   the decision       not to present               this


          testimony.          It    was a       decision    made by Bob Hulkrantz and Bennie House                                       in the



          hallway of the court house and not the entire defense team.                                            As a matter of             fact



          Randi       Dr.    Compton and myself were very                           surprised        when Mr. Hulkrantz made

          this   statement          in   court considering            both experts         were       in attendance            in the


                                                                           in the punishment              hearing.
          courtroom          that    day prepared           to   testify




                                                                                                                                                           204
Case 1:10-cv-00610-MJT Document 78-3 Filed 12/14/15 Page 2 of 2 PageID #: 1051
   Shelli   Schade Affidavit

   Page 2 of 2




       7.   During an interview                with Mr. Gardner        after   the punishment         phase Mr. Gardner

            told      me   that he felt he       had been sent down            the river      by   his attorneys    and was


            very disappointed                that they   didnt    listen to    him   during    the trial.




            I   declare    under the penalty             of perjury   under the law of the          state   of Texas   that the


   foregoing     is   true and correct          and was executed        the    Cow        day of

   2008.




                                                                                      Shelli Schade




  Subscribed     and sworn to before             me this               day of                               2008.




                           NoAOi1r   ublfo
                                                                                                     Notary    Public    State of Texas
                           8tot otTexas

                      CWM
                                                                                          7aJ/               /Nom
                                                                                                              Notarys    Printed   Name




                                                                                                                                   205
